                               Case 3:24-bk-00496-BAJ      Doc 29-1          Filed 03/11/24   Page 1 of 1
Label Matrix for local noticing               Scott E Bomkamp                                 Bryan K. Mickler
113A-3                                        DOJ-Ust                                         Attorney for the Debtor
Case 3:24-bk-00496-BAJ                        United States Trustee                           5452 Arlington Expy.
Middle District of Florida                    400 W. Washington St.                           Jacksonville, FL 32211-6860
Jacksonville                                  Ste 1100
Mon Mar 11 08:55:51 EDT 2024                  Orlando, FL 32801-2440
Duval County Tax Collector                    Florida Dept of Revenue                         Florida Dept. of Revenue
231 Forsyth St. #130                          P.O. Box 6668                                   Bankruptcy Unit
Jacksonville FL 32202-3380                    Tallahassee, FL 32314-6668                      P.O. Box 6668
                                                                                              Tallahassee, FL 32314-6668


Genie Investments NV Inc.                     IRS                                             Internal Revenue Service
PO Box 60443                                  Centralized Insolvency Operations               PO Box 7346
Jacksonville, FL 32236-0443                   P.O. Box 7346                                   Philadelphia, PA 19101-7346
                                              Philadelphia, PA 19101-7346


Bryan K. Mickler                              Secretary of the Treasury                       U.S. Securities & Exchange Commission
Mickler & Mickler                             15th & Pennsylvania Ave., NW                    Office of Reorganization
5452 Arlington Expressway                     Washington, DC 20220-0001                       950 East Paces Ferry Road, N.E.
Jacksonville, FL 32211-6860                                                                   Suite 900
                                                                                              Atlanta, GA 30326-1382

United States Attorney                        United States Trustee - JAX 11                  End of Label Matrix
300 North Hogan St Suite 700                  Office of the United States Trustee             Mailable recipients   13
Jacksonville, FL 32202-4204                   George C Young Federal Building                 Bypassed recipients    0
                                              400 West Washington Street, Suite 1100          Total                 13
                                              Orlando, FL 32801-2210
